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                       UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF OKLAHOMA
William Bumpas,                            :
                                           :
                   Plaintiff,              :
                                             Civil Action No.: CIV-15-258-HE
                                                               ______
      v.                                   :
                                           :
Diversified Adjustment Service, Inc. ; and :
DOES 1-10, inclusive,                      :
                                             COMPLAINT AND
                                           :
                                             DEMAND FOR JURY TRIAL
                   Defendants.             :
                                           :
                                           :

       For this Complaint, Plaintiff, William Bumpas, by undersigned counsel, states as

follows: Diversified Adjustment Service, Inc.

                                       JURISDICTION

       1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) and the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et. seq. (“TCPA”) by the Defendant and its

agents in their illegal efforts to collect a consumer debt.

       2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving

rise to this action occurred in this District.
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                                         PARTIES

       4.      Plaintiff, William Bumpas (“Plaintiff”), is an adult individual residing in

Duncan, Oklahoma, is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3), and

is a “person” as defined by 47 U.S.C. § 153(39).

       5.      Defendant Diversified Adjustment Service, Inc. (“Diversified”), is a

Minnesota business entity with an address of 600 Coon Rapids Boulevard, Coon Rapids,

Minnesota 55434, operating as a collection agency, is a “debt collector” as the term is

defined by 15 U.S.C. § 1692a(6) and is a “person” as defined by 47 U.S.C. § 153(39).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by

Diversified and whose identities are currently unknown to the Plaintiff. One or more of

the Collectors may be joined as parties once their identities are disclosed through

discovery.

       7.      Diversified at all times acted by and through one or more of the Collectors.

                  ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meet the definition of a

“debt” under 15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Diversified for

collection, or Diversified was employed by the Creditor to collect the Debt.
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       11.     Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Diversified Engages in Harassment and Abusive Tactics

       12.     In or around January 2015, Diversified began calling Plaintiff’s cellular

telephone, number 580-XXX-1387, in an attempt to collect the Debt.

       13.     Diversified called Plaintiff from telephone number 877-816-7220 using an

automated telephone dialing system (“ATDS”).

       14.     When Plaintiff answered calls from Diversified he experienced silence and

was not connected to a live representative.

       15.     Plaintiff did not have his cellular telephone number at the time that the

Debt was incurred and Plaintiff never provided his cellular telephone number to the

Creditor or Diversified.

   C. Plaintiff Suffered Actual Damages

       16.     Plaintiff has suffered and continues to suffer actual damages as a result of

Defendants’ unlawful conduct.

       17.     As a direct consequence of Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional

distress, fear, frustration and embarrassment.

       18.     Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious,

and utterly intolerable in a civilized community.


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                                          COUNT I

                             VIOLATIONS OF THE FDCPA
                                15 U.S.C. § 1692, et seq.

       19.     Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       20.     Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants

engaged in behavior the natural consequence of which was to harass, oppress, or abuse

the Plaintiff in connection with the collection of a debt.

       21.     Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants

caused a phone to ring repeatedly and engaged the Plaintiff in telephone conversations,

with the intent to annoy and harass.

       22.     Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

       23.     The foregoing acts and omissions of Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       24.     Plaintiff is entitled to damages as a result of Defendants’ violations.

                                         COUNT II

                             VIOLATIONS OF THE TCPA –
                                 47 U.S.C. § 227, et seq.

       25.     Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.




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       26.     At all times mentioned herein and within the last four years, Defendants

called Plaintiff on his cellular telephone using an automatic telephone dialing system

(“ATDS” or “Predictive Dialer”).

       27.     In expanding on the prohibitions of the TCPA, the Federal

Communications Commission (FCC) defines a Predictive Dialer as “a dialing system that

automatically dials consumers’ telephone numbers in a manner that “predicts” the time

when a consumer will answer the phone and a [representative] will be available to take

the call…”2003 TCPA Order, 18 FCC 36 Rcd 14022. The FCC explains that if a

representative is not “free to take a call that has been placed by a predictive dialer, the

consumer answers the phone only to hear ‘dead air’ or a dial tone, causing frustration.”

Id. In addition, the TCPA places prohibitions on companies that “abandon” calls by

setting “the predictive dialers to ring for a very short period of time before disconnecting

the call; in such cases, the predictive dialer does not record the call as having been

abandoned.” Id.

       28.     Defendants’ telephone systems have some earmarks of a Predictive Dialer.

When Plaintiff answered the phone, he was met with silence and was never connected to

a live representative.

       29.     Upon information and belief, Defendants’ Predictive Dialers have the

capacity to store or produce telephone numbers to be called, using a random or sequential

number generator.

       30.     Plaintiff never provided his cellular telephone to Defendants and never

provided his consent to be called using an ATDS.
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      31.     The telephone number called by Defendants was assigned to a cellular

telephone service for which Plaintiff incurs charges for incoming calls pursuant to 47

U.S.C. § 227(b)(1).

      32.     The calls from Defendants to Plaintiff were not placed for “emergency

purposes” as defined by 47 U.S.C. § 227(b)(1)(A)(i).

      33.     Plaintiff is entitled to an award of $500.00 in statutory damages for each

call made in negligent violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      34.     Plaintiff is entitled to an award of treble damages in an amount up to

$1,500.00 for each call made in knowing and/or willful violation pursuant to 47 U.S.C. §

227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                  PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against

                      Defendants;

                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                      §1692k(a)(2)(A) against Defendants;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                      § 1692k(a)(3) against Defendants;

                 4. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                 5. Actual damages from Defendants for all damages including emotional

                      distress suffered as a result of the intentional, reckless, and/or

                      negligent FDCPA violations; and intentional and/or reckless invasions
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                  of privacy in an amount to be determined at trial for the Plaintiff;

               6. Punitive damages; and

               7. Such other and further relief as may be just and proper.

Dated: March 13, 2015



                                        Respectfully submitted,

                                        By /s/ Sergei Lemberg

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